
In re Energy Corporation; Gulf States Utilities Company; — Defendant(s); applying for supervisory and/or remedial writs; Parish of East Baton Rouge, 19th Judicial District Court, Div. “A”, No. 397369.
Granted. Judgment of the trial court ordering that any ex parte communication with any Commissioner of the Public Service Commission occurring during the pendency of the proceeding and relating to the proposed merger of Energy Corp. and Gulf States Utilities Co. should be revealed and permitting the parties to take such depositions as may be deemed necessary for that purpose is reversed and set aside. The approval of the merger proceeding was not an adjudication; rather, it was in the nature of a ratemaking proceeding, a legislative function. See Gulf States Utilities Co. v. Louisiana Public Service Commission, 578 So.2d 71, 79 (La.1991). Case remanded to the trial court for further proceedings.
WATSON, J., not on panel.
